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                                       IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MINNESOTA

                                                ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                              COURT MINUTES - CRIMINAL
                 Plaintiff,                                               BEFORE: DAVID T. SCHULTZ
 v.                                                                           U.S. Magistrate Judge

Ahmed Mohamed Artan (8),                                         Case No:          22-cr-223 NEB/TNL
                   Defendant.                                    Date:             September 20, 2022
                                                                 Courthouse:       Minneapolis
                                                                 Courtroom:        9E
                                                                 Time Commenced:   5:50 p.m.
                                                                 Time Concluded:   5:52 p.m.
                                                                 Time in Court:     2 minutes



APPEARANCES:
   Plaintiff: Matthew Ebert and Joe Thompson, Assistant U.S. Attorney
   Defendant: Barry Edwards,
                   X CJA

Indictment Dated: 9/13/2022

          X Reading of Indictment Waived            X Not Guilty Plea Entered



Other Remarks:

   X Counsel to be notified of additional dates by separate Order to be issued.

                                                                                                             s/jam
                                                                                     Signature of Courtroom Deputy




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